               Case 3:20-cv-05224-JLR Document 106 Filed 05/25/21 Page 1 of 4



1                                                                HONORABLE JAMES L. ROBART
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8
                                 UNITED STATES DISTRICT COURT
9
                                WESTERN DISTRICT OF WASHINGTON
10                                        AT TACOMA
11
       ERIC DODGE, individually,
12                                                               NO. 3:20-cv-05224-JHR
13
                                                 Plaintiff,
                                                                 NOTICE OF APPEAL
14     vs.
15
       EVERGREEN SCHOOL DISTRICT NO. 114, a
16     public corporation; CAROLINE GARRETT, an
17     individual; and JANAE GOMES, an individual,
18
                                               Defendants.
19
             Notice is hereby given that plaintiff Eric Dodge appeals to the United States Court of
20

21   Appeals for the Ninth Circuit from the Order on Motions for Summary Judgment and Motion to
22
     Exclude, Dkt. 97, entered May 3, 2021, and the Judgment in a Civil Action, Dkt. 98, entered
23

24   May 3, 2021.
25           Pursuant to Circuit Rule 3-2(b), a representation statement is attached.
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     Notice of Appeal - 1                                              Talmadge/Fitzpatrick
                                                                     2775 Harbor Avenue SW
                                                                       Third Floor, Suite C
                                                                        Seattle, WA 98126
                                                                          (206) 574-6661
               Case 3:20-cv-05224-JLR Document 106 Filed 05/25/21 Page 2 of 4



1            DATED this 25th day of May, 2021.
2
                                                    By: /s/ Gary W. Manca
 3
4                                                   Gary W. Manca, WSBA #42798
                                                    Talmadge/Fitzpatrick
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                                                    Seattle, WA 98126
                                                    Tel: (206) 574-6661
8                                                   Email: gary@tal-fitzlaw.com
9
                                                    Attorney for Plaintiff
10                                                  Eric Dodge
11

12

13                                  REPRESENTATION STATEMENT
14
             The parties in this action and their counsel are as follows:
15

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     Attorney on Appeal for Plaintiff Eric Dodge
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     Notice of Appeal - 2                                               Talmadge/Fitzpatrick
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               Case 3:20-cv-05224-JLR Document 106 Filed 05/25/21 Page 3 of 4



1    Attorneys for Defendants Caroline Garrett and Janae Gomes
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     John A. Safarli, WSBA #44056
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               Case 3:20-cv-05224-JLR Document 106 Filed 05/25/21 Page 4 of 4



1                                   DECLARATION OF SERVICE
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             On said day below I electronically served a true and accurate copy of Notice of Appeal
 3   in U.S. District Court, Western District of Washington, Cause No: 3:20-cv-05224-JHR, with the
4    Clerk of the Court using the CM/ECF system which will send notification of such filing to all
     associated counsel of record.
5

6           I declare under penalty of perjury under the laws of the State of Washington and the
7
     United States that the foregoing is true and correct.

8
             DATED: May 25, 2021, at Seattle, Washington.
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10
                                  /s/ Lynn R. Ohls
11                                Lynn R. Ohls, Legal Assistant
12                                Talmadge/Fitzpatrick

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